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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION


 INDORAMA VENTURES HOLDINGS L.P.,
                             Plaintiff,                    JURY TRIAL DEMANDED


                       vs.
                                                           Civil Action No. _____________
 FACTORY MUTUAL INSURANCE
 COMPANY,
                             Defendant.

                                               COMPLAINT

       Plaintiff Indorama Ventures Holdings L.P. (“Indorama”), by and through its attorneys,

hereby files this Complaint against Defendant Factory Mutual Insurance Company (“FM Global”)

alleging as follows:

                                          NATURE OF THE ACTION

       1.      In the early hours of November 27, 2019, liquid butadiene escaped from a

fractionator at the TPC Group plant located in Port Neches, Jefferson County, Texas (“TPC

Facility”). The butadiene vaporized and then ignited, which set off a chain reaction of at least

three major explosions (“TPC Explosion”). Civilians felt the blasts 30 miles away. The explosions

sent at least one process tower hurdling through the air, crumpled many others, and caused

extensive damage to the TPC Facility. Two TPC employees, one TPC contractor, and at least five

civilians sustained injuries. Fires burned within the TPC Facility for more than a month after the

explosion. Officials in Jefferson County, Texas immediately declared a state of disaster and issued

a mandatory evacuation order for everyone within a 4-mile radius and, in the coming weeks and

months, would limit access to the TPC Facility and certain locations therein. In terms of property
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damage alone, the TPC Explosion reportedly caused $450 million in on-site property damage and

$153 million in off-site property damage to nearby homes and businesses.

        2.      Right across the street from the TPC Facility is the Indorama Plant (as defined

herein), which Indorama contracted to purchase from Huntsman International LLC (“Huntsman”)

in August 2019 and ultimately did acquire as of January 3, 2020. The Indorama Plant is an “insured

location” under the property damage and business interruption insurance Policy (as defined herein)

at issue in this lawsuit.

        3.      Indorama is a world-class sustainable chemical company. The Indorama Plant in

Port Neches, Texas includes an oxides and olefins (“O&O”) plant, which manufactures olefins and

ethylene oxide, as well as a plant that manufactures methyl tertiary butyl ether (“MTBE”), which

is a high-octane clean-burning gasoline oxygenate used in more than 50 countries around the world

to optimize combustion and reduce tailpipe emissions. MTBE can also be back-cracked to high-

purity isobutylene for use as a chemical feedstock. Today, Indorama employs approximately 620

employees and uses the services of an additional approximate 208 independent contractors at the

Indorama Plant, which currently manufactures approximately 1.6 billion pounds of MTBE and

about 525 million pounds of propylene oxide (“PO”) annually.

        4.      At the time of the TPC Explosion, the TPC Facility and the Indorama Plant shared

a cooperative relationship. More specifically, Insured Property (as defined herein) – consisting of

storage tanks, pipelines, and associated equipment owned or leased by Indorama and critical to the

Indorama Plant’s operations – was located within the TPC Facility; the TPC Facility is expressly

identified as an “insured location” under the Policy.

        5.      That Insured Property at the TPC Facility (i) stored raw material and finished

product in Indorama’s storage tanks, (ii) transported that raw material through pipelines from the




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storage tanks to the Indorama Plant for manufacture, and (iii) transported finished product through

pipelines from the Indorama Plant for storage at the TPC Facility and/or for distribution at a nearby

“PNO Dock,” and at third party terminals connected via pipelines to the Indorama Plant via the

TPC Facility. Accordingly, Indorama’s Insured Property at the TPC Facility was essential to the

Indorama Plant’s operations, production and distribution of products.

       6.      However, as a result of the TPC Explosion, the operations of the Insured Property

at the TPC Facility and, in turn, the Indorama Plant were interrupted and forced to cease; some

Insured Property also sustained property damage.

       7.      For instance, the TPC Facility (under a written contract) was the sole electricity

supplier to the Insured Property at the TPC Facility. However, the TPC Explosion damaged the

power substation at the TPC Facility. Thus, for several weeks following the TPC Explosion, the

Insured Property lacked power and, consequently, could not function.

       8.      In addition, governmental orders prohibited access to areas within the TPC Facility,

including the locations of Insured Property. The governmental prohibition on accessing Insured

Property lasted for at least sixty days after the explosion, preventing the restoration of the Insured

Property’s operations and causing business interruption loss.

       9.      The TPC Explosion further impacted Indorama’s operations because governmental

authorities prohibited access to the PNO Dock. The PNO Dock, which is also an insured location

under the Policy, is the terminal from which raw materials are received and finished products are

transported via cargo ships. However, the dock had to cease operations because it fell within the

evacuation order’s four-mile radius and because of the orders of the United States Coast Guard.

       10.     Ultimately, because of the referenced service interruptions and civil authority

orders, Indorama sustained nearly $100 million in business interruption loss (as well as certain




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repair and restoration costs for Insured Property). Those losses are covered and reimbursable

under several provisions of the Policy issued by and through FM Global. While FM Global made

a partial payment of loss, it has failed and refused to reimburse Indorama for the full remaining

covered loss sustained as a result of the TPC Explosion.

         11.   Accordingly, Indorama brings this breach of contract and declaratory judgment

action to obtain coverage for the full value of the significant business interruption loss that the

TPC Explosion caused, which FM Global has improperly withheld and denied, plus interest and

attorneys’ fees.

                          PARTIES, JURISDICTION, AND VENUE

         12.   Indorama is a limited partnership organized under the laws of Delaware with its

principal place of business at 4235 South Stream Blvd., Suite 450, Charlotte, North Carolina

28217.

         13.   Indorama’s limited partnership consists of: (i) Indorama Ventures Holdings

Corporation (“IVHC”), a Delaware corporation with a principal place of business at 4235 South

Stream Blvd., Suite 450, Charlotte, North Carolina 28217; and (ii) Indorama Ventures Logistics

LLC, a Delaware limited liability company, whose sole member is a partnership, which (through

another partnership) ultimately has IVHC as its sole partner. Therefore, for purposes of diversity

jurisdiction under 28 U.S.C. 1332 Indorama is a citizen of Delaware and North Carolina.

         14.   Upon information and belief, FM Global is an insurance company incorporated in

Rhode Island with its principal place of business in Johnston, Rhode Island.

         15.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizenship and the amount in controversy is greater than $75,000,

exclusive of interest and costs.




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        16.     Venue is proper in this district and division because it includes Jefferson County,

Texas, which is the location (i) of risks and property insured under the Policy; (ii) of the Indorama

Plant, the Insured Property, and the PNO Dock; and (iii) of the TPC Explosion, which gives rise

to the losses at issue in this action.

        17.     This Court has personal jurisdiction over FM Global because FM Global expressly

agreed to, and did, insure risks and locations located in Texas, including the Indorama Plant, the

TPC Facility (and Insured Property located therein), and the PNO Dock. In addition, the Policy

also states that “[i]t is agreed that in the event of the failure of the Company to pay any amount

claimed to be due hereunder or in the event of any other dispute relating to this Policy, the

Company, at the request of the Insured … will submit to the jurisdiction of any court of competent

jurisdiction within the United States of America and will comply with all of the requirements

necessary to give such court jurisdiction….”

                                    FACTUAL ALLEGATIONS

A.      INDORAMA ACQUIRES THE INDORAMA PLANT AND RIGHTS UNDER THE POLICY
        TO RECOVER LOSSES IN CONNECTION WITH THE TPC EXPLOSION.

        18.     Through that certain Equity and Asset Purchase Agreement by and between

Huntsman, as Seller; Indorama, as Buyer; and Indorama Ventures Public Company Ltd., as Buyer

Guarantor dated August 7, 2019 (“Purchase Agreement”), Indorama acquired from Huntsman,

among other businesses and assets, Huntsman’s PO/MTBE plant located at 2701 TX-136 Spur,

Port Neches, Texas 77651 and Huntsman’s O&O Plant located at 6001 Highway 366, Port Neches,

Texas 77651 (together, “Indorama Plant”) as well as the Insured Property located at the TPC

Facility (“Transaction”).

        19.     After the signing of the Purchase Agreement but prior to the closing of the

Transaction on January 3, 2020, the TPC Explosion occurred on November 27, 2019.



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       20.     FM Global issued and/or reinsures property and business interruption policy no.

PROP 19-20 with a period of November 1, 2019 to November 1, 2020 (“Policy”), which was

issued to Huntsman Corporation (and various affiliates) as insureds. FM Global is responsible for

adjusting insurance claims and ultimately paying loss under the Policy.

       21.     As set forth below, the Indorama Plant, Insured Property, and PNO Dock are

“insured locations” under the Policy.

       22.     Following the TPC Explosion, Huntsman submitted an insurance claim to FM

Global under the Policy.

       23.     To facilitate the closing of the Transaction, Huntsman (along with certain affiliates)

and Indorama entered into a certain Insurance Assignment Agreement dated January 3, 2020

(“Insurance Assignment Agreement”). Under the Insurance Assignment Agreement, Huntsman

agreed to and did assign and delegate to Indorama all of Huntsman’s rights, duties, and obligations

with respect to any claims for property damage and/or business interruption coverage in connection

with the TPC Explosion under the Policy.

       24.     FM Global expressly consented to the assignment to Indorama as set forth in the

Insurance Assignment Agreement and agreed and acknowledged that all loss payable under the

Policy will be paid directly to Indorama in accordance with the Insurance Assignment Agreement.

Indeed, FM Global’s partial payment of loss (discussed below) was first tendered to Indorama

before being redirected to Huntsman (as required under an Insurance Assignment Agreement and

Insurance Settlement Agreement).

       25.     Accordingly, Indorama has the acknowledged right, and is the proper party, to

pursue, receive, and recover loss under the Policy in connection with the property damage and

business interruption arising out of the TPC Explosion (“Insurance Claim”).




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B.      THE POLICY.

        26.    The Policy states that it “covers property, as described in this Policy, against ALL

RISKS OF PHYSICAL LOSS OR DAMAGE, except as hereinafter excluded, while located as

described in this Policy,” including both physical loss and business interruption loss, among other

costs and expenses, as detailed below.

        27.    The Policy provides “TIME ELEMENT COVERAGE EXTENSIONS,” which

include, inter alia, coverage for “CIVIL OR MILITARY AUTHORITY” and “SERVICE

INTERRUPTION TIME ELEMENT.”

        28.    The Policy’s “SERVICE INTERRUPTION TIME ELEMENT” coverage (“Service

Interruption Coverage”) insures:

               the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the period of service interruption at an insured
               location when the loss is caused by the interruption of incoming
               services consisting of electricity, gas, fuel, steam, water,
               refrigeration or from the lack of outgoing sewerage service by
               reason of accidental event or physical loss or damage of the type
               insured under this Policy at the facilities of the supplier of such
               service located within this Policy’s TERRITORY, that immediately
               prevents in whole or in part the delivery of such usable services.

        29.    The Policy also provides that “[t]his Extension will apply when the period of

service interruption is in excess of 48 hours.” The Service Interruption Coverage is subject to a

$75,000,000 sublimit.

        30.    The Policy’s “CIVIL OR MILITARY AUTHORITY” coverage (“Civil Authority

Coverage”) states:

               This Policy covers the Actual Loss Sustained and EXTRA
               EXPENSE incurred by the Insured during the PERIOD OF
               LIABILITY if an order of civil or military authority limits, restricts
               or prohibits partial or total access to an insured location provided
               such order is the direct result of physical damage of the type insured
               at the insured location or within five statute miles/eight kilometers
               of it.


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       31.     Under the Civil Authority Coverage, “The PERIOD OF LIABILITY for this TIME

ELEMENT COVERAGE EXTENSION will be:

               The period of time:

               1) Starting at the time of such physical damage; and

               2) Ending not later than the number of consecutive days shown in the LIMITS OF
                  LIABILITY clause in the DECLARATIONS section,

               this period of time is part of and not in addition to any PERIOD OF LIABILITY
               applying to any coverage provided in the TIME ELEMENT section.”

       32.     The Civil Authority Coverage has no sublimit; rather, it covers all loss up to 60

days as set forth in “the LIMITS OF LIABILITY clause in the DECLARATIONS section.”

       33.     Loss insured under the “TIME ELEMENT” coverages in the Policy described

above include either “GROSS EARNINGS” or “GROSS PROFIT.”

       34.     “GROSS EARNINGS” are the “Actual Loss Sustained by the Insured . . . during

the PERIOD OF LIABILITY” of “Gross Earnings” less “all charges and expenses that do not

necessarily continue during the interruption of production or suspension of business operations or

services” plus “costs associated with take or pay contracts covering the purchase of raw materials”

plus “all other earnings derived from the operation of the business.”

       35.     “GROSS PROFIT” is the “Actual Loss Sustained by the Insured . . . due to the

necessary interruption of business during the PERIOD OF LIABILITY” of the “Reduction in

Sales” and “Increase in Cost of Doing Business.”

       36.     Under the Policy, the term “EXTRA EXPENSE” means:

               the reasonable and necessary extra costs incurred by the Insured of
               the following during the PERIOD OF LIABILITY: 1) extra
               expenses to temporarily continue as nearly normal as practicable the
               conduct of the Insured’s business; 2) extra costs of temporarily using
               property or facilities of the Insured or others; and 3) costs to
               purchase finished goods from third parties to fulfill orders when



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                such orders cannot be met due to physical loss or damage to the
                Insured’s finished goods, less payment received for the sale of such
                finished goods less any value remaining at the end of the PERIOD
                OF LIABILITY for property obtained in connection with the above.

        37.     Under the Policy, the term “PERIOD OF LIABILITY” applicable to coverages for

“buildings and equipment” is the period “starting from the time of physical loss or damage of the

type insured; and . . . ending when with due diligence and dispatch the building and equipment

could be [] repaired or replaced; and [] made ready for operations, under the same or equivalent

physical and operating conditions that existed prior to the damage” and is not “limited by the

expiration of” the Policy.

        38.     Under the Policy, the term “location” means:

                as specified in the Schedule of Locations, or if not so specified in
                the Schedule of Locations: a building yard, dock, wharf, pier or
                bulkhead (or any group of the foregoing), bounded on all sides by
                public streets, clear land space or open waterways, each not less than
                50 feet/15 metres (sic) wide. Any bridge or tunnel crossing such
                street, space or waterway will render such separation inoperative for
                the purpose of this definition.

        39.     The Indorama Plant, the TPC Facility (containing the Insured Property), and the

PNO Dock are each “specified in the Schedule of Locations” and, therefore, are “insured locations”

under the Policy. Specifically, on the “Schedule of Locations” the Indorama Plant is Location No.

2; the TPC Facility is Location No. 147; and the PNO Dock is Location No. 17.

C.      THE INSURED PROPERTY AT THE TPC FACILITY.

        40.     At all relevant times, the Indorama Plant and the TPC Facility shared a cooperative

relationship.

        41.     For example, as of the date of the TPC Explosion, Huntsman, and after the

Transaction’s closing, Indorama, owned and/or leased twelve MTBE storage tanks, two methanol




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storage tanks, and related pipelines and equipment, all of which was located at the TPC Facility

(“Insured Property”).

         42.   Those MTBE and methanol storage tanks supported manufacturing operations at

the Indorama Plant by temporarily storing partly finished products (work in progress) or off-

specification products for reprocessing.

         43.   Those tanks were connected directly to the Indorama Plant as well as the PNO Dock

Plant Site through the referenced pipelines and equipment so that (i) the tanks could receive and

store raw materials from the dock to later transfer to the Indorama Plant and (ii) the tanks could

store finished product from the Indorama Plant and then deliver it to the docks and marine

terminals for distribution.

         44.   At the time of the TPC Explosion, the Insured Property located at the TPC Facility

received their electricity exclusively from the TPC Facility on a 24-hour per day, 7-day per week

basis.

         45.   Specifically, Indorama contracted for the TPC Facility to supply electricity to the

Insured Property through a (i) June 27, 2006 Operating Agreement with a TPC affiliate, which

Indorama assumed as a result of the Transaction (“Operating Agreement”) and (ii) June 27, 2006

Shared Use and Services Agreement with a TPC affiliate, which Indorama also assumed (“Shared

Use Agreement”).

         46.   Under both agreements, “Service Provider [i.e., TPC] shall provide the Operating

Services on a 24-hour per day and 7-day per week basis, in a good and workmanlike manner….”

Such services expressly include providing “electricity and other necessary operating utilities as

needed for operation of . . . the Exclusive Use Assets [i.e., the MTBE tanks]” (under the Operating




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Agreement) and “the Shared Use Assets [i.e., the methanol tanks]” (under the Shared Use

Agreement).

D.     THE TPC EXPLOSION AND RESULTING BUSINESS INTERRUPTION LOSS.

       47.     The TPC Explosion, which occurred on November 27, 2019, originated in the South

Unit of the TPC Facility when liquids primarily consisting of butadiene escaped from a

fractionator. The liquid butadiene vaporized and then ignited, resulting in an explosion that created

a pressure wave that caused extensive damage throughout the TPC Facility and caused damage to

buildings, including houses, offsite. The damage from the first explosion triggered at least two

more explosions at the TPC Facility.

                                          Service Interruption

       48.     The TPC Explosion damaged a power substation located at the TPC Facility that

supplied power to the Insured Property. The power substation, known as Substation WA, which

was near the explosion site and sustained extensive damage, served as the only source of power

for the TPC Facility and, in turn, the Insured Property.

       49.     Substation WA supplied electricity to the Insured Property as follows: (i) to the

MTBE tanks (and pipelines and other miscellaneous associated equipment) through Substation F-

5 and (ii) to the methanol tanks (and pipelines and other miscellaneous associated equipment)

through Substation 2-B, located within the TPC Facility.

       50.     The lack of electricity to the Insured Facilities prevented the flow of MTBE and

methanol among the offsite dock, the tanks, and the Indorama Plant. As a result, the Insured

Property could not operate and, in turn, the Indorama Plant could not operate because it could

neither receive raw materials nor distribute finished products. As a result, Indorama sustained

substantial business interruption loss.




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                                   Civil or Military Authority

       51.     In addition, orders from the relevant local, state, and federal authorities following

the TPC Explosion prohibited access to the Insured Property for months and, in turn, prevented

the Insured Property and Indorama Plant from operating.

       52.     The TPC Explosion triggered the Federal Emergency Management Agency’s

(“FEMA”) National Incident Management System (“NIMS”). Under NIMS, Jefferson County

Judge Jeff R. Branick was appointed as the Incident Commander (“Incident Commander”).

       53.     On November 27, 2019, the Incident Commander issued a mandatory evacuation

order for individuals within four miles of the TPC Facility (with only certain limited exceptions

for essential personnel). This order initially restricted access to the Insured Property at the TPC

Facility, to the Indorama Plant, and to the PNO Docks.

       54.     As a result of subsequent civil authority orders from the Incident Commander, the

Chemical Safety and Hazard Investigation Board (“CSB”), the Occupational Safety & Health

Administration (“OSHA”), and court orders and injunctions, Indorama was partially or totally

prohibited from accessing the TPC Facility and/or Insured Property for at least 60 days after the

explosion.

       55.     Specifically, as a result of these civil authority orders, Indorama was not permitted

to enter the TPC Facility until December 13, 2020. And, at that time, Indorama was only permitted

onto the TPC Facility to conduct a visual inspection.

       56.     In the weeks following the TPC Explosion, the Incident Commander and CSB

established “exclusion zones” within the TPC Facility where access was prohibited.

       57.     Because of the exclusion zones established by civil authorities, the transportation

of hydrocarbons through the TPC Facility was restricted because of the concern of subsequent




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explosions until the fire, still burning at the TPC Facility, was finally extinguished on January 4,

2020.

         58.   The Incident Commander did not permit access to the TPC Facility to begin any

repairs until January 13, 2020, when the exclusion zone was reduced. However, Indorama still did

not have full access to the Insured Property: the MTBE recycle pipeline remained within the CSB’s

and Incident Commander’s exclusion zone with access restricted until January 29, 2020. That

pipeline was critical for Indorama’s transfer of product between the MTBE tanks and the Indorama

Plant.

         59.   The TPC Facility, including the Insured Property, was also subject to judicial

temporary restraining orders and injunctions following the TPC Explosion which prohibited

Indorama’s ability to access or use the Insured Property, which also caused business interruption

loss.

         60.   In addition, the Incident Commander’s mandatory evacuation order and orders of

the U.S. Coast Guard prohibited access to the PNO Dock, which is an insured location under the

Policy, for multiple days until at least November 29, 2020. The lack of access to the PNO Dock

compounded the business interruption loss caused by the TPC Explosion.

E.       FM GLOBAL’S IMPROPER DENIAL             OF   CIVIL AUTHORITY AND SERVICE
         INTERRUPTION COVERAGES.

         61.   To date, Indorama has submitted a total business interruption (and property

damage) loss to FM Global for approximately $100 million.

         62.   Because the TPC Explosion is plainly a covered event and gave rise to covered

business interruption loss, FM Global had no choice but to acknowledge that the Insurance Claim

is covered under the Policy. However, to try to minimize its coverage obligation and wrongfully

avoid paying the full amount of covered loss, FM Global only agreed to cover the Insurance Claim



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under the Policy’s “Contingent Time Element Extension” coverage (“CTEE Coverage”), which

(not coincidentally) has the lowest potentially applicable sublimit of $50 million. Further, by

invoking only the CTEE Coverage, FM Global wrongly asserts that loss under the Service

Interruption and Civil Authority Coverages is subsumed within the CTEE Coverage – even though

the Civil Authority and Service Interruption Coverages are separate coverages that are

independently triggered by the TPC Explosion and its direct impact on Insured Property.

       63.     FM Global ultimately paid the $50 million CTEE sublimit (“CTEE Payment”);

under the Insurance Settlement Agreement between Indorama and Huntsman, entered into to

facilitate the closing of the Transaction, the CTEE Payment ultimately went to Huntsman.

       64.     However, Indorama has a remaining loss of approximately $50 million – that

exceeds the CTEE Payment – which is covered under the Policy (“Remaining Loss”). Indorama

has requested that FM Global pay the Remaining Loss under the Policy’s separate and independent

Civil Authority Coverage and/or Service Interruption Coverage, but FM Global has wrongly failed

and refused to pay the Remaining Loss. Upon information and belief, by invoking only the CTEE

Coverage, FM Global improperly attempts to avoid paying the Remaining Loss that is also covered

under the Policy.

       65.     The Remaining Loss is covered under the Policy’s Service Interruption Coverage

because: (1) the losses are “Actual Loss Sustained” and “EXTRA EXPENSE incurred” during the

period of the service interruption at the Insured Property, which is located at an insured location

under the Policy; (2) the losses were caused by the interruption of electricity to the Insured

Property, which is a covered service interruption under the Service Interruption Coverage; (3) the

electricity interruption happened by reason of the TPC Explosion, which was an “accidental event”

or other “physical loss or damage of the type insured” under the Service Interruption Coverage;




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(4) the TPC Facility, where the TPC Explosion occurred, was the supplier of electricity services

to the Insured Property and is located within the Policy’s “Territory”; and (5) the TPC Explosion

immediately prevented the flow of electricity to the Insured Property.

       66.     The loss is also covered under the Policy’s Civil Authority Coverage because: (1)

the losses are “Actual Loss Sustained” and “EXTRA EXPENSE incurred” during the duration of

the 60-day period following the TPC Explosion; (2) the referenced civil and military authority

orders are “order[s] of civil or military” authorities under the Civil Authority Coverage; (3) the

referenced orders limited, restricted, and prohibited partial and total access to the Insured Property,

which are at insured locations under the Policy; (4) the orders are the direct result of the TPC

Explosion, which is “physical damage of the type insured” under the Policy; and (5) the TPC

Explosion occurred at an insured location, which housed the Insured Property.

       67.     Based on the foregoing, FM Global has a contractual obligation and duty under the

Policy to cover and reimburse Indorama for the full value of the Remaining Loss, but FM Global

has failed and refused to do so under the Civil Authority and/or Service Interruption Coverages or

otherwise.

       68.     Indorama has complied with all applicable terms and conditions of the Policy.

                                   FIRST CAUSE OF ACTION
                                      Declaratory Judgment

       69.     Indorama repeats, realleges, and incorporates by reference each of the foregoing

paragraphs as if they were set forth herein.

       70.     Under the terms of the Policy, FM Global agreed to insure against “ALL RISK OF

PHYSICAL LOSS OR DAMAGE” and, therefore, has a contractual duty to pay loss, including

business interruption loss, under the Policy, including but not limited to under the Policy’s Civil

Authority Coverage and/or Service Interruption Coverage.



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          71.   As a result of the TPC Explosion, which is a covered risk under the Policy,

Indorama has sustained loss covered under the Policy, including but not limited to under the

Policy’s Civil Authority and/or Service Interruption Coverages.

          72.   With respect to the TPC Explosion and the Insurance Claim, Indorama is the

assignee of the Insurance Claim and rights to coverage under the Policy. FM Global consented to

such assignment and agreed that any loss payable under the Policy will be paid directly to

Indorama.

          73.   FM Global, despite repeated demands by Indorama, has failed and refused to cover

the Remaining Loss, which is due and owing under the Policy.

          74.   By reason of the foregoing, an actual and justiciable controversy exists between the

Indorama and FM Global regarding FM Global’s obligation to reimburse Indorama for its

Remaining Loss under the Policy.

                                SECOND CAUSE OF ACTION
                                    Breach of Contract

          75.   Indorama repeats, realleges, and incorporates by reference each of the foregoing

paragraphs as if they were set forth herein.

          76.   Indorama and/or Huntsman have fully performed all of their obligations under the

Policy.

          77.   Under the terms of the Policy, FM Global agreed to insure against “ALL RISK OF

PHYSICAL LOSS OR DAMAGE” and, therefore, has a contractual duty to pay loss, including

business interruption loss, under the Policy, including but not limited to the Policy’s Civil

Authority Coverage and/or Service Interruption Coverage.




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       78.     As a result of the TPC Explosion, which is a covered risk under the Policy,

Indorama has sustained loss covered under the Policy, including but not limited to under the

Policy’s Civil Authority and/or Service Interruption Coverages.

       79.     With respect to the TPC Explosion and the Insurance Claim, Indorama is the

assignee of the Insurance Claim and rights to coverage under the Policy. FM Global consented to

such assignment and agreed that any loss payable under the Policy will be paid directly to

Indorama.

       80.     FM Global, despite repeated demands by Indorama, has failed and refused to pay

the Remaining Loss, which is due and owing under the Policy. As a result, FM Global has

breached the Policy.

       81.     As a direct and proximate cause of FM Global’s breach of the Policy, Indorama has

sustained, and will continue to sustain, substantial damages.

                                THIRD CAUSE OF ACTION
                                    Texas Insurance Code
                           (Statutory Interest and Attorneys’ Fees)

       82.     Indorama repeats, realleges, and incorporates by reference each and every

allegation contained in the preceding paragraphs as if they were set forth herein.

       83.     FM Global has improperly denied its coverage obligations and, in doing so, has

breached the Policy and caused Indorama to sustain damages.

       84.     FM Global has forced Indorama to file this coverage action to receive the benefits

of the coverage to which Indorama is entitled under the Policy.

       85.     As a result of FM Global’s wrongful withholding of coverage under the Policy,

Indorama incurred, and will continue to incur, attorneys’ fees and expenses to obtain the benefits

of the Policy through this coverage action.




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       86.     Upon prevailing in this coverage action, FM Global is required to reimburse

Indorama for its attorneys’ fees and all other expenses incurred to obtain the benefits of the Policy

plus statutory interest pursuant to Tex. Ins. Code Ann. § 542.060, among other potentially

applicable sections of the Texas Insurance Code.

                                      REQUEST FOR RELIEF

       WHEREFORE, Indorama requests that this Court grant a judgment in its favor against

FM Global as follows:

               (a)     As to the First Cause of Action, a declaration that the Policy requires FM

Global to cover the Insurance Claim under the Service Interruption and/or Civil Authority

Coverages and to reimburse Indorama for its Remaining Loss in an amount to be proven at trial;

               (b)     As to the Second Cause of Action, award Indorama compensatory damages

in an amount to be proven at trial;

               (c)     As to the Third Cause of Action, an award to Indorama of all its attorneys’

fees, costs, expenses, and interest to which Indorama is entitled under the applicable provisions of

the Texas Insurance Code; and

               (d)     As to all Causes of Action, (i) order FM Global to pay pre- and post-

judgment interest and attorney’s fees and expenses; and (ii) award such other and further relief as

this Court may deem just and proper.

                                        JURY DEMAND

       Indorama hereby demands trial by a jury as to all triable issues.




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